Case: 4:23-cr-00270-HEA-SPM Doc. #: 6 Filed: 05/30/23 Page: 1 of 4 PageID #: 15




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
Plaintiff,                                    )
                                              )
vs.                                           ) No.: 4:23-CR-00270 HEA SPM
                                              )
JOSEPH R. GUTOWSKI                            )
                                              )
Defendant.                                    )

                       MEMORANDUM IN SUPPORT OF
               GOVERNMENT’S MOTION FOR PRE-TRIAL DETENTION

        Comes now the United States of America, by and through its attorneys, Sayler A. Fleming,

United States Attorney for the Eastern District of Missouri, and Jillian S. Anderson, Assistant

United States Attorney, and moves the Court to order Defendant detained pending trial pursuant

to Title 18, United States Code, Section 3141, 3142(e) and (f)(2) et seq. Based on the charges and

pursuant to Title 18, United States Code, Section 3142(e)(3)(E), there is a rebuttable presumption

that there are no conditions or combination of conditions that will reasonably assure the appearance

of the Defendant and the safety of the community. As and for its grounds, the Government states

as follows:

        The Defendant has been indicted with one count of attempted production of child

pornography in violation of 18 U.S.C. §2251(a) and one count of receiving child pornography in

violation of 18 U.S.C. §2252A(a)(2). Upon conviction, these offenses involve a mandatory

minimum imprisonment period of at least fifteen years and at least five years, respectively.

        Summarized below are the facts and evidence derived from the investigation in this case

that demonstrate the nature and circumstances of the Defendant’s crime against minor children,

the overwhelming weight of the evidence against the Defendant, and the nature and seriousness of

                                                 1
Case: 4:23-cr-00270-HEA-SPM Doc. #: 6 Filed: 05/30/23 Page: 2 of 4 PageID #: 16




the danger that the Defendant presents to children with whom the Defendant could achieve contact

in person or via the internet.

        On November 30, 2022, the Defendant, who was at the time a teacher at a high school in

St. Louis County, reported to his school and to law enforcement that he was performing

inappropriate actions with students. This admission came the day after his girlfriend discovered

digital evidence of child pornography in the Defendant’s possession and made a report to the

police. The Defendant gave multiple voluntary interviews to law enforcement in which he admitted

that he was addicted to pornography and had viewed child pornography, and that he maintained a

sexual interest in females ages 10 and up. The Defendant admitted that he had obtained child

pornography via the file sharing site Mega and was part of an “underground” part of Mega, called

“Club Creep” that was exclusively for pornography involving minors and voyeurism. The

Defendant admitted that he had taken pictures of juveniles in his classroom that he found attractive

and that he had paid one former student (when she was a young adult) to send him pornographic

images via the internet. The Defendant further admitted that he had surreptitiously recorded a

sixteen-year-old foreign exchange student who lived with him. He secretly recorded her in the

bathroom and in his office at the high school, in doing so the Defendant captured images

constituting child pornography. The Defendant also admitted that he secretly filmed an eighteen-

year-old former foreign exchange student with a hidden camera in the bedroom where she slept.

The Defendant confessed that he distributed images of both the foreign exchange students online

to others.

        The Defendant’s girlfriend discovered his sexual interest in minors and she and his ex-wife

delivered all of his electronics to the police on or about November 29, 2022, and afterward (as

further items were located). Immediately before his electronics went to the police, the Defendant



                                                 2
Case: 4:23-cr-00270-HEA-SPM Doc. #: 6 Filed: 05/30/23 Page: 3 of 4 PageID #: 17




attempted to delete all the illegal content on his devices per his admission to police and the forensic

analysis of such electronics.

       Forensic analysis of digital devices belonging to the Defendant revealed recordings made

by hidden cameras placed in the Defendant’s home (his family room, bedroom and bathroom) and

in his office at the high school where he taught. The devices upon which evidence of child

pornography or of hidden camera videos were located were forensically analyzed. The Defendant

possessed about 64 videos depicting the juvenile foreign exchange student that were made by a

camera hidden in a bathroom and the Defendant’s high school office. Also located were screen

shots of communications and images that the Defendant took after going through the cellular

telephone of the juvenile foreign exchange student under his care, such communications and

images were of a sexual nature between the juvenile and her juvenile boyfriend. In total, there were

260 video files depicting the sixteen-year-old foreign exchange student that were located in the

Defendant’s possession.

       On the Defendant’s Mega accounts, law enforcement located 340 images and 832 videos

of child pornography that he has received over the internet, including depictions involving infants,

toddlers, bondage, bestiality and the penetration of the genitals of minors. Also located were 9

videos of child pornography depicting the juvenile foreign exchange student as well as multiple

other videos of that juvenile nude or semi-nude.

       Also located was evidence of chats and communications between the Defendant (using the

username S1ckhead and an individual who is believed to be a German national in which they

discuss voyeurism, exchange voyeuristic images including files depicting the juvenile foreign

exchange student. In these communications, the Defendant and this other individual discuss how

to delete and obfuscate detection of evidence of voyeurism activity.



                                                   3
Case: 4:23-cr-00270-HEA-SPM Doc. #: 6 Filed: 05/30/23 Page: 4 of 4 PageID #: 18




       Based on the foregoing, the Government believes that there is clear and convincing

evidence that the Defendant presents a danger to minors in our community and minors whose

sexual abuse images he can obtain via the internet. The Government further believes that there are

no conditions or combination of conditions that will reasonably assure the safety of other persons

and the community. Wherefore, the Government respectfully requests this Court order the

Defendant be detained prior to trial.

                                             Respectfully submitted,

                                             SAYLER A. FLEMING
                                             UNITED STATES ATTORNEY

                                             /s/ Jillian S. Anderson
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of this document was filed

with the Court’s electronic file management system for service upon all parties and counsel of

record on May 30, 2023.

                                                    s/ Jillian S. Anderson________
                                                    JILLIAN S. ANDERSON, #53918(MO)
                                                    Assistant United States Attorney
                                                    jillian.anderson@usdoj.gov




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